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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

AMERICAN ALLIANCE FOR                      )
EQUAL RIGHTS,                              )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )      Case No. 2:24-cv-00104-RAH
                                           )
KAY IVEY, in her official capacity as      )
Governor of the State of Alabama,          )
                                           )
       Defendant,                          )
                                           )
v.                                         )
                                           )
ALABAMA ASSOCIATION OF                     )
REAL ESTATE BROKERS,                       )
                                           )
       Intervenor Defendant.               )

                                      ORDER
       On December 23, 2024, Intervenor Defendant, the Alabama Association of
Real Estate Brokers, filed an Unopposed Motion to Extend Defendants’ Expert
Disclosure Deadline (doc. 78) in which it requested “to extend the expert disclosure
deadline for defendants from February 10, 2025, to March 14, 2025. (Id. at 1.)
Accordingly, and for good cause, it is ORDERED as follows:
       1. The Intervenor Defendant’s Unopposed Motion to Extend Defendants’
          Expert Disclosure Deadline (doc. 78) is GRANTED.
       2. The Defendants’ expert witness disclosure deadline is extended from
          February 10, 2025, to March 14, 2025.
       3. All other deadlines remain in effect.

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  DONE, on this the 26th day of December 2024.



                         R. AUSTIN HUFFAKER, JR.
                         UNITED STATES DISTRICT JUDGE




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